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10
11                    UNITED STATES DISTRICT COURT
12               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                            EASTERN DIVISION
13
14
      BRIDGETT DICKERSON, individually,          Case No.
15    and on behalf of all others similarly
16    situated,                                  CLASS ACTION COMPLAINT

17                Plaintiff,
18                                               DEMAND FOR JURY TRIAL
            v.
19
20    BOIRON, INC.,

21                Defendant.
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                                CLASS ACTION COMPLAINT
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                      1                                        INTRODUCTION
                      2              1.   Plaintiff Bridgett Dickerson (“Plaintiff”) on behalf of herself, all
                      3    others similarly situated, and the general public, by and through her undersigned
                      4    counsel, hereby brings this action against Boiron, Inc. (“Defendant” or “Boiron”),
                      5    and upon information and belief and investigation of counsel, alleges as follows:
                      6              2.   This is a California consumer class action for violations of the
                      7    Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750, et seq. (“CLRA”), Unfair
                      8    Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”), and for
                      9    breach of express warranty.
                      10             3.   Defendant manufactures, distributes, advertises, markets, and sells
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                      11   the Optique1 Eye Drops (the “Product”). The Product is labeled as a “Homeopathic
                      12   Medicine” that is intended for “Eye Irritation Relief,” “Dry Eyes,” “Allergies,”
                      13   and “Eye Strain,” among other claims.
                      14             4.   Unfortunately, the Product is being illegally sold and is ineffective at
                      15   providing “Eye Irritation Relief.” On September 11, 2023, the United States Food
                      16   and Drug Administration (“FDA”) sent a warning letter to Boiron notifying it that
                      17   the Product is “an unapproved new drug” and that “introducing or delivering this
                      18   product for introduction into interstate commerce” violates the Food Drug and
                      19   Cosmetics Act. 1
                      20             5.   Not only is the Product illegal to sell, it is also falsely advertised as
                      21   being effective at providing eye symptom relief. The purported “active”
                      22   ingredients in the Product are so diluted that they are virtually non-existent and are
                      23   scientifically proven to be incapable of providing the advertised eye symptom
                      24   relief.
                      25
                      26   1
                             See Warning Letter from the FDA to Boiron, Inc. dated September 11, 2023,
                      27   available at https://www.fda.gov/inspections-compliance-enforcement-and-
                           criminal-investigations/warning-letters/boiron-inc-663402-09112023      and
                      28   attached hereto as Exhibit A.
                                                                       1
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                      1          6.     Plaintiff, who purchased the Product in California, was deceived by
                      2    Defendant’s unlawful conduct and brings this action on her own behalf and on
                      3    behalf of California consumers to remedy Defendant’s unlawful acts.
                      4                                JURISDICTION AND VENUE
                      5          7.     This Court has original jurisdiction over this action pursuant to 28
                      6    U.S.C. § 1332(d) because this is a class action in which: (1) there are over 100
                      7    members in the proposed class; (2) members of the proposed class have a different
                      8    citizenship from Defendant; and (3) the claims of the proposed class members
                      9    exceed $5,000,000 in the aggregate, exclusive of interest and costs.
                      10         8.     This Court has personal jurisdiction over Defendant because
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                      11   Defendant conducts and transacts business in the State of California, contracts to
                      12   supply goods within the State of California, and supplies goods within the State of
                      13   California. Defendant, on its own and through its agents, is responsible for the
                      14   distribution, marketing, labeling, and sale of the Product in California, specifically

                      15   in this District. The marketing of the Product, including the decision of what to
                           include and not include on the labels, emanates from Defendant. Thus, Defendant
                      16
                           has intentionally availed itself of the markets within California through its
                      17
                           advertising, marketing, and sale of the Product to consumers in California,
                      18
                           including Plaintiff. The Court also has specific jurisdiction over Defendant as it
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                           has purposefully directed activities towards the forum state, Plaintiff’s claims arise
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                           out of those activities, and it is reasonable for Defendant to defend this lawsuit
                      21
                           because it has sold the deceptively advertised Product to Plaintiff and members of
                      22
                           the Class in California. By distributing and selling the Product in California,
                      23   Defendant has intentionally and expressly aimed conduct at California which
                      24   caused harm to Plaintiff and the Class that Defendant knows is likely to be suffered
                      25   by Californians.
                      26         9.     Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial
                      27   part of the events or omissions giving rise to the claim occurred in this District
                      28   because Plaintiff purchased the Product within this District.
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                      1                                           PARTIES
                      2          10.      Defendant Boiron, Inc. is a Pennsylvania corporation that maintains
                      3    its principal place of business at 4 Campus Blvd., Newtown Square, Pennsylvania
                      4    19073. At all times during the class period, Defendant was the manufacturer,
                      5    distributor, marketer, and seller of the Product.
                      6          11.      Plaintiff Bridgett Dickerson is a resident of San Bernardino County,
                      7    California. Plaintiff purchased the Product during the class period in California.
                      8    Plaintiff relied on Defendant’s deceptive advertising and labeling claims as set
                      9    forth below.
                      10                                  FACTUAL ALLEGATIONS
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                      11                          THE OPTIQUE1 EYE DROPS PRODUCT
                      12         12.      The front label of the Product prominently states that the Product is a
                      13   “Homeopathic Medicine” intended for “Eye Irritation Relief,” “Dry Eyes,”
                      14   “Allergies,” and “Eye Strain.”
                      15         13.      The front label also says that the Product will “Help Your Body the
                      16   Natural Way” inside of a graphic of a green leaf leading reasonable consumers to
                      17   believe that the Product is natural. The front label also says that the Product is
                      18   “Soothing and Refreshing” and “Preservative-Free.”
                      19         14.      The front label of the product is shown below.
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                      1                       Front Label of the Optique1 Eye Drops
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                                           OptiqueI
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                      11
                      12                   - - - - - E Y E DROPS
                      13                   HOMEOPATHIC MEDICINE
                      14                       ■ Soothing & Refreshing
                      15                       ■ Preservative-Free
                      16
                      17
                      18
                                               30      Sterile Single-Use
                                                       Droppers

                      19
                                                                                       .013 fl oz
                                                                                4ml} per dropper
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                      1          15.        The back label of the Product shows that the “active” ingredients in
                      2    the Product are homeopathic ingredients that are “officially monographed in the
                      3    Homeopathic Pharmacopoeia of the United States” as shown below:
                      4                                          Back Label of the Optique1 Eye Drops
                      5
                      6                Drug Facts
                      7                Active Ingredients"                                                                                                                Purpose·
                                       Calcarea fluorica 10X HPUS 0.25% ......................... Relieves eyestrain and fatigue characterized by flickering light
                      8                Calendula officinalis 4X HPUS 0.25% .........Relieves eye dryness associated with smoke or other airborne irritants
                                       Cineraria maritima 6C HPUS 1.50% ............................................................... Soothes sensitivity to light and glare
                      9                (contains less than 10·13 mg pyrrolizidine alkaloids)
                                       Euphrasia officinalis 4X HPUS 1.00% ..................................................................... Relieves burning, irritated eyes
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                                       Kali muriaticum 10X HPUS 0.25% ......................................... Alleviates gritty sensation (feeling of sand in the eye)
                                       Magnesia carbonica 10X HPUS 0.25% ...............Relieves sharp and brief eye irritation associated with eye fatigue
                      11               Silicea lOX HPUS 0.25% ........................................................................................................... Relieves tired eyes
                                        The letters "HPUS" indicate that the components in this product are officially monographed in the
                      12               Homeopathic Pharmacopoeia of the United States.

                      13               Uses• temporarily relieves minor eye irritation such as dry, red, itchy, and burning eyes due to:
                                                           ■ eyestrain and fatigue              ■ light and glare          ■ digital displays

                      14                                   ■ airborne irritants (pollens and dust)

                                       Warnings
                      15               Obtain immediate medical treatment for all open wounds in or near the eyes.
                                       To avoid contamination ■ do not touch tipof dropper to:~nysurface
                      16               ■ do not touch the eye with the tip of the dropper      ■ do not reuse
                                       ■ once opened, discard dropper after each use.
                      17               Do not use if solution changes color or becomes cloudy.
                                       Stop use and ask a doctor if you experience eye pain, changes in vision, continued redness or irritation of the
                      18               eye, or if the condition worsens or persists for more than 72 hours.

                      19
                                       If pregnant or breastfeeding, ask ahealth professional before use.
                                       Keep out of reach of children. If swallowed, get medical help or contact aPoison Control Center right away.
                      20                Directions
                                       ■ Adults and children 2years of age and older: At the onset of symptoms, put 1 to 2 drops, or more if necessary,
                      21                in affected eye(s). Repeat 2 to 6 times aday, as needed, or as directed by adoctor.
                                       ■ Children under 2 years of age: Ask adoctor.                                                                                                       ►
                      22
                                    ·cLAIMS BASED ON TRADITIONAL HOMEOPATHIC PRACTICE, NOT ACCEPTED
                      23             MEDICAL EVIDENCE. NOT FDA EVALUATED.
                                    "C, K, CK, and Xare homeopathic dilutions: see BoironUSA.com/info for details.
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                      1          16.   The side labels of the Product are shown below:
                      2                           Side Labels of the Optique1 Eye Drops
                      3
                      4
                      5                                                   Orog Facts (continued)
                      6                                                   Other infonnation
                                   Soothing                               ■ do not use if glued carton end flaps are open or if inner foil
                                                                          pouch and droppers are not intact
                      7          & Refreshing
                                                                          ■ do not refrigerate or freeze
                                                                          ■ after opening foil pouch: store unused droppers in the foil
                                                                          pouch for no longer than 3 months at atemperature that does
                      8                                                   not exceed 77'f (25'C}
                                                                          ■ after opening the dropper: the product must be used immediately


                      9        @ No-Sting Formula                         ■ after administering: discard dropper
                                                                          ■ do not reuse
                                                                          ■ contains 0.00916% alcohol
                                                                          ■ isotonic to tears

                      10
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                                ~ No Vas~constrictors                      Inactive ingredients alcohol, purified water,
                                ~ or Astringents                           sodium chloride
                      11                                                   Questions or comments?
                                                                           BolronUSA.com I lnfoOBolron.com
                      12        ~ No Rebound Redness                       1-800-BOIRON-1 (1-800-264-7661)


                      13        @ No Preservatives
                      14                                                 1.Tea~lheloil       2.Soap off one
                                                                                               single-use
                                                                                                               3.Twist to open.   4Puttto2~,II'
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                                                                           iw;hallhe
                                                                          llltlledeciJe.                                           ~attectedeye(s).
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                                  The Boiron Promise
                                                                                                       Made In France
                      16           Your health deserves the                   Distributed by Bolron Inc., Newtown Square, PA 19073
                                  greatest respect. That's why                                     @ please recycle
                      17           w~re committed to your
                                    satisfaction. Please visit
                      18
                      19
                      20
                                    BoironUSA.com/promise
                                           for details.
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                      1                    THE PRODUCT IS MISBRANDED AND ILLEGAL TO SELL
                      2              17.   The federal Food, Drug, and Cosmetics Act (“FDCA”) regulates the
                      3    advertising, labeling, and sale of over-the-counter drug products. 21 U.S.C. § 301
                      4    et seq.; 21 C.F.R. Parts 200 and 300. California imposes requirements that are
                      5    identical to the FDCA through its adoption of the Sherman Food, Drug, and
                      6    Cosmetics Law, Cal. Health & Safety Code § 109875 et seq. (“Sherman Law”).
                      7    The Sherman Law is explicitly authorized by the FDCA. See 21 U.S.C. § 343-1.
                      8              18.   On September 11, 2023, the FDA sent a warning letter to Boiron
                      9    notifying it that the Product is “an unapproved new drug” and that “introducing or
                      10   delivering this product for introduction into interstate commerce” violates the
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                      11   FDCA. 2 The FDA recognized that the term “drug” includes “articles recognized
                      12   in the official Homeopathic Pharmacopeia of the United States (HPUS), or any
                      13   supplement to it.” 3 The ingredients in the Product are recognized in the HPUS.
                      14   The FDA emphasized that “[h]omeopathic drug products are subject to the same
                      15   statutory requirements as other drugs; nothing in the FD&C Act exempts
                      16   homeopathic drugs from any of the requirements related to adulteration,
                      17   misbranding, or FDA approval.” 4
                      18             19.   The Product is a “drug” as defined in 21 U.S.C. § 321(g)(1) because
                      19   “it is intended for use in the diagnosis, cure, mitigation, treatment, or prevention
                      20   of disease, and/or intended to affect the structure or any function of the body.” 5
                      21   The intended use of the Product is for treatment of eye conditions and the Product
                      22
                      23   2
                             See Warning Letter from the FDA to Boiron, Inc. dated September 11, 2023,
                      24   available at https://www.fda.gov/inspections-compliance-enforcement-and-
                           criminal-investigations/warning-letters/boiron-inc-663402-09112023      and
                      25   attached hereto as Exhibit A.

                      26
                           3
                               Id; 21 U.S.C. § 321(g)(1).
                           4
                      27       Id.
                           5
                      28       Id.
                                                                      7
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                      1    is intended to affect the structure and function of the body as shown by labeling
                      2    statements such as “Eye Irritation Relief,” “Dry Eyes,” “Allergies,” and “Eye
                      3    Strain.”
                      4          20.    The Product also does not comply with the law regarding
                      5    “structure/function” claims made in conjunction with dietary supplements. The
                      6    FDCA distinguishes between “disease claims” and “structure/function claims”
                      7    that manufacturers make about their products, applying different regulatory
                      8    standards to each. A structure/function claim, among other things, “describes the
                      9    role of a nutrient or dietary ingredient intended to affect the structure or function
                      10   in humans” or “characterizes the documented mechanism by which a nutrient or
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                      11   dietary ingredient acts to maintain such structure or function,” but “may not claim
                      12   to diagnose, mitigate, treat, cure, or prevent a specific disease or class of diseases.”
                      13   21 U.S.C. § 343(r)(6)(A), (C). A disease claim, conversely, “claims to diagnose,
                      14   mitigate, treat, cure, or prevent disease,” either explicitly or implicitly (such as by
                      15   claiming that a product treats a disease's “characteristic signs or symptoms”). 21
                      16   C.F.R. § 101.93(g)(2)(ii); see also 21 U.S.C. § 343(r)(6).
                      17         21.    Structure/function claims must meet three requirements: (1) the
                      18   manufacturer has substantiation that the statement is truthful and not misleading;
                      19   (2) the statement contains a prominent disclaimer that the FDA has not evaluated
                      20   the statement and that the product “is not intended to diagnose, treat, cure, or
                      21   prevent any disease”; and (3) the statement itself does not “claim to diagnose,
                      22   mitigate, treat, cure, or prevent” disease. 21 U.S.C. § 343(r)(6)(C). A dietary
                      23   supplement manufacturer making only structure/function claims regarding its
                      24   supplement must notify the Office of Nutritional Products, Labeling, and Dietary
                      25   Supplements in the FDA. 21 C.F.R. § 101.93(a).
                      26         22.    The Product is not generally recognized as safe and effective
                      27   (GRASE) for the above referenced uses and, therefore, the product is a “new drug”
                      28   under the FDCA, 21 U.S.C. § 321(p). A “new drug,” like the Product, may not be
                                                                       8
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                       1    introduced or delivered for introduction into interstate commerce without an
                       2    approved application from FDA. 21 U.S.C. §§ 355(a) and 331(d). Defendant did
                       3    not receive approval from the FDA before selling the Product. 6
                       4            23.    Accordingly, Defendant has violated the FDCA and California’s
                       5    Sherman Law. Because the Product was illegal to sell throughout the class period,
                       6    Plaintiff and the class members are entitled to a full refund of their purchase price.
                       7        THE PRODUCT DOES NOT PROVIDE THE ADVERTISED EYE SYMPTOM RELIEF
                       8            24.    The Product is sold as a “homeopathic medicine.” However,
                       9    homeopathy is a pseudoscience based on impossible “principles” that were
                      10    developed in the late 1700s. The two main principles of homeopathy are “that a
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                      11    substance that causes symptoms in a healthy person can be used in diluted form to
                      12    treat symptoms and illnesses, a principle known as ‘like-cures-like’” and that “the
                      13    more diluted the substance, the more potent it is, which is known as the ‘law of
                      14    infinitesimals.’” 7
                      15            25.    The term “homeopathy” is derived from the Greek works homeo
                      16    (similar) and pathos (suffering or disease). The National Center for
                      17    Complementary and Integrative Health at the National Institutes of Health (“NIH”)
                      18    provides the following description about homeopathy:
                      19            Supporters of homeopathy point to two unconventional theories: “like
                                    cures like”—the notion that a disease can be cured by a substance that
                      20            produces similar symptoms in healthy people; and “law of minimum
                                    dose”—the notion that the lower the dose of the medication,
                      21            the greater its effectiveness. Many homeopathic remedies are so
                                    diluted that no molecules of the original substance remain. 8
                      22
                      23    6
                              See Warning Letter from the FDA to Boiron, Inc. dated September 11, 2023,
                      24    available at https://www.fda.gov/inspections-compliance-enforcement-and-
                            criminal-investigations/warning-letters/boiron-inc-663402-09112023      and
                      25    attached hereto as Exhibit A.

                      26
                            7
                              Homeopathic Products, FOOD AND DRUG ADMINISTRATION (Sept. 5, 2023),
                            available at https://www.fda.gov/drugs/information-drug-class/homeopathic-
                      27    products

                      28
                            8
                                See https://nccih.nih.gov/health/homeopathy
                                                                       9
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                       1    With respect to the status of homeopathic research, the NIH states:
                       2             Most rigorous clinical trials and systematic analyses of the research
                                     on homeopathy have concluded that there is little evidence to support
                       3             homeopathy as an effective treatment for any specific condition.
                       4             A 2015 comprehensive assessment of evidence by the Australian
                       5             government's National Health and Medical Research Council
                                     concluded that there are no health conditions for which there is
                       6             reliable evidence that homeopathy is effective.
                       7             Homeopathy is a controversial topic in complementary medicine
                                     research. A number of the key concepts of homeopathy are not
                       8             consistent with fundamental concepts of chemistry and physics. For
                       9             example, it is not possible to explain in scientific terms how a remedy
                                     containing little or no active ingredient can have any effect. This, in
                      10             turn, creates major challenges to rigorous clinical investigation of
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                                     homeopathic remedies. For example, one cannot confirm that an
                      11             extremely dilute remedy contains what is listed on the label, or
                      12             develop objective measures that show effects of extremely dilute
                                     remedies in the human body. 9
                      13
                                     26.   The homeopathic ingredients in the Product are so diluted that they
                      14
                            are virtually non-existent. For example, a 1C homeopathic dilution “is obtained by
                      15
                            mixing 1 part of the Mother Tincture with 9 parts of ethanol in a new vial and then
                      16
                            vigorously shaking the solution (succession).” 10 This is intended to replicate the
                      17
                            striking of the “medicine” against a bible, which is what was originally used by
                      18
                            early proponents of homeopathy. Amongst consumers, there is poor understanding
                      19
                            of the principles underlying homeopathic products.
                      20
                                     27.   The FTC has commissioned consumer surveys that demonstrate
                      21
                            consumers do not understand homeopathy and become skeptical when they are
                      22
                            informed about the principles underlying homeopathy’s efficacy theory.
                      23
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                      27
                            9
                                See https://nccih.nih.gov/health/homeopathy

                      28
                            10
                                 https://boironusa.com/info/
                                                                        10
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                       1             28.    According to results from FTC focus group tests, consumers “did not
                       2    understand what ‘homeopathic’ means or how homeopathy works”: 11
                       3             In fact, the parents and adults tended to group all non-conventional
                                     products together, including homeopathic products, into a single
                       4             category, using the terms “natural,” “herbal,” and “homeopathic”
                       5             interchangeably. More importantly, upon learning more about the
                                     theory of homeopathy after Shugoll representatives explained the
                       6             principles behind it to them, many participants became skeptical
                                     about its efficacy and more guarded against using it. These results
                       7             suggest that many consumers may choose homeopathic products
                                     based on incorrect and incomplete information about them. When
                       8             given additional information, however, they looked more critically at
                       9             homeopathic treatments and had a better basis on which to evaluate
                                     them in comparison to other remedies. 12
                      10
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                                     29.    The FTC also commissioned surveys exposing consumers to different
                      11
                            homeopathic product packages. These copy test results “showed that consumers
                      12
                            mistakenly believed that the manufacturers of homeopathic products tested their
                      13
                            products on people in order to show their effectiveness.” The results also “support
                      14
                            the conclusion that consumers have incorrect perceptions about human efficacy
                      15
                            testing for homeopathic products.” 13
                      16
                                     30.    Published research shows that the principles of homeopathy are
                      17
                            physically impossible. 14 “Through the laws of physics, homeopathic medicines
                      18
                      19
                      20
                            11
                               See Federal Trade Commission, Comments of the Staff of the Federal Trade
                            Commission, In Response to a Request for Comments Related to its Public
                      21    Hearing on Homeopathic Product Regulation: Evaluating the Food and Drug
                            Administration’s Regulatory Framework After a Quarter-Century (Aug. 21, 2015)
                      22    available                                                                  at
                            https://www.ftc.gov/system/files/documents/advocacy_documents/ftc-staff-
                      23    comment-food-drug-administration-regarding-current-use-human-drug-
                            biological-products/150821fdahomeopathic.pdf
                      24    12
                                 Id. at 11-12.
                      25    13
                                 Id. at 14-15.
                      26    14
                              D. Grimes, Proposed mechanisms for homeopathy are physically impossible,
                      27    FOCUS ON ALTERNATIVE AND COMPLEMENTARY THERAPIES (Sept. 2012), abstract
                            available     at       https://onlinelibrary.wiley.com/doi/abs/10.1111/j.2042-
                      28    7166.2012.01162.x
                                                                       11
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                       1    appear to have zero chance of containing any biologically active component.
                       2    Evidence from physical chemistry also rules out the plausibility of mechanisms
                       3    such as water memory.” 15 Any “benefit” that homeopathy purportedly provides “is
                       4    compatible with the notion that the clinical effects of homoeopathy are placebo
                       5    effects.” 16
                       6               31.   The United States National Center for Complementary Integrative
                       7    Health has stated that “[t]here’s little evidence to support homeopathy as an
                       8    effective treatment for any specific health condition.” 17 A 2015 comprehensive
                       9    assessment of evidence by the Australian government’s National Health and
                      10    Medical Research Council similarly concluded that “there are no health conditions
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                      11    for which there is reliable evidence that homeopathy is effective.” 18
                      12               32.   The United Kingdom’s House of Commons Science and Technology
                      13    Committee found there is no scientific evidence to support a claim that
                      14    homeopathy works and that the systematic reviews and other meta analyses
                      15    conclusively demonstrated that homeopathic products performed no better than
                      16
                      17
                      18
                      19
                            15
                      20         Id.
                      21    16
                               A. Shang, et al., Are the clinical effects of homoeopathy placebo effects?
                            Comparative study of placebo-controlled trials of homoeopathy and allopathy,
                      22    THE       LANCET     (Aug.      27,     2005),       abstract   available  at
                            https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(05)67177-
                      23    2/fulltext
                      24    17
                                Homeopathy: What You Need To Know, NATIONAL CENTER                       FOR
                      25    COMPLEMENTARY           INTEGRATIVE        HEALTH, available                   at
                            https://www.nccih.nih.gov/health/homeopathy
                      26
                            18
                               NHMRC Statement: Statement on Homeopathy, AUSTRALIAN GOVERNMENT-
                      27    NATIONAL HEALTH AND MEDICAL RESEARCH COUNCIL, available at
                      28    https://www.nhmrc.gov.au/file/14825/download?token=40ze36WK
                                                                      12
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                       1    placebos, information that is not disclosed to consumers. 19 As Professor David
                       2    Colquhoun, Professor of Pharmacology at the University College of London, put
                       3    it: “If homeopathy worked the whole of chemistry and physics would have to be
                       4    overturned.” 20
                       5               33.   The Federal Trade Commission released an enforcement policy
                       6    statement concerning homeopathic products and stated that “the case for efficacy
                       7    is based solely on traditional homeopathic theories and there a no valid studies
                       8    using current scientific methods showing the product’s efficacy.” 21 “Accordingly,
                       9    marketing claims that such homeopathic products have a therapeutic effect lack a
                      10    reasonable basis and are likely misleading in violation” of the FTC Act. 22
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                      11               34.   Because the homeopathic ingredients in the Product cannot provide
                      12    any type of symptom relief, Defendant’s labeling statements that the Product
                      13    provides “Eye Irritation Relief” and relief for “Dry Eyes,” “Allergies,” and “Eye
                      14    Strain” are false and misleading.
                      15    REASONABLE CONSUMERS ARE DECEIVED BY DEFENDANT’S FALSE LABELING
                      16                        STATEMENTS AND SUFFERED ECONOMIC INJURY
                      17               35.   Consumers, like Plaintiff, relied on Defendant’s labeling statements
                      18    that the Product provides “Eye Irritation Relief” and relief for “Dry Eyes,”
                      19    “Allergies,” and “Eye Strain.” Plaintiff and the putative class members suffered
                      20
                      21
                            19
                              Evidence Check 2: Homeopathy - Science and Technology Committee, UNITED
                      22    KINGDOM            HOUSE         OF       COMMONS,         available       at
                      23    https://publications.parliament.uk/pa/cm200910/cmselect/cmsctech/45/4504.htm
                            20
                      24         Id.
                            21
                      25      Enforcement Policy Statement on Marketing Claims for OTC Homeopathic
                            Drugs, FEDERAL TRADE COMMISSION, available at
                      26    https://www.ftc.gov/system/files/documents/public_statements/996984/p114505
                            _otc_homeopathic_drug_enforcement_policy_statement.pdf
                      27
                            22
                      28         Id.
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                       1    economic injury as a result of Defendant’s actions. Plaintiff and putative class
                       2    members spent money that, absent Defendant’s actions, they would not have spent.
                       3    Plaintiff and putative class members are entitled to damages and restitution for the
                       4    purchase price of the Product that was falsely labeled and illegal to sell.
                       5    Consumers, including Plaintiff, would not have purchased Defendant’s Product,
                       6    or would have paid less for the Product, if they had known the Product was being
                       7    sold illegally and that the ingredients in the Product are incapable of providing the
                       8    advertised eye symptom relief.
                       9                            PLAINTIFF’S PURCHASE OF THE PRODUCT
                      10          36.    Plaintiff Bridgett Dickerson purchased the Optique1 Eye Drops
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                      11    beginning in approximately December of 2022 and continuing until approximately
                      12    January of 2023. Plaintiff purchased the Product from Walmart and Walgreens
                      13    stores located in or around Rialto, California.
                      14          37.    Plaintiff saw and relied on the “Eye Irritation Relief,” “Dry Eyes,”
                      15    “Allergies,” and “Eye Strain” statements on the label of the Product. Plaintiff
                      16    would not have purchased the Product, or would have paid less for the Product,
                      17    had she known that the product was illegal to sell and that the ingredients in the
                      18    Product are incapable of providing the advertised symptom relief. As a result,
                      19    Plaintiff suffered injury in fact when she spent money to purchase the Product she
                      20    would not have purchased, or would have paid less for, absent Defendant’s
                      21    misconduct. Plaintiff desires to purchase the Product again if the labels of the
                      22    Product were accurate and if the Product actually provided the advertised eye
                      23    symptom relief and if the product was sold legally. However, as a result of
                      24    Defendant’s ongoing misrepresentations and misconduct, Plaintiff is unable to rely
                      25    on the Product’s advertising and labeling when deciding in the future whether to
                      26    purchase the Product.
                      27          38.    Like all reasonable consumers, Plaintiff did not notice any disclaimer,
                      28    qualifier, or other explanatory statement or information on the Product’s labels or
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                       1    packaging that contradicted the prominent front-label deceptive “Eye Irritation
                       2    Relief,” “Dry Eyes,” “Allergies,” and “Eye Strain” statements at the point of sale.
                       3    Published marketing and advertising research has found that back label and fine-
                       4    print disclaimers do not influence consumer purchase behavior. 23
                       5                                NO ADEQUATE REMEDY AT LAW
                       6          39.    Plaintiff and members of the class are entitled to equitable relief as
                       7    no adequate remedy at law exists. The statutes of limitations for the causes of
                       8    action pled herein vary. Class members who purchased the Product more than three
                       9    years prior to the filing of the complaint will be barred from recovery if equitable
                      10    relief were not permitted under the UCL.
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                      11          40.    The scope of actionable misconduct under the unfair prong of the
                      12    UCL is broader than the other causes of action asserted herein. It includes
                      13    Defendant’s overall unfair marketing scheme to promote and brand the Product,
                      14    across a multitude of media platforms, including the product labels, packaging,
                      15    and online advertisements, over a long period of time, in order to gain an unfair
                      16    advantage over competitor products. The UCL also creates a cause of action for
                      17    violations of law. This is especially important here because Plaintiff alleges
                      18    Defendant has committed “unlawful” acts and brings a claim for violation of the
                      19    UCL’s “unlawful prong.” Specifically, Defendant has violated the FDCA and
                      20    California’s Sherman Law, among other laws. No other causes of actions allow
                      21    this claim to proceed, and thus, there is no adequate remedy at law for this specific
                      22
                      23    23
                              See e.g, Karen Russo France and Paula Fitzgerald Bone (2005), Policy Makers’
                            Paradigms and Evidence from Consumer Interpretations of Dietary Supplement
                      24    Labels, JOURNAL OF CONSUMER AFFAIRS, 39(1):27-51; Marlys J. Mason, Debra L.
                      25    Scammon, and Xiang Fang (2007), The Impact of Warnings, Disclaimers, and
                            Product Experience on Consumers’ Perceptions of Dietary Supplements, JOURNAL
                      26    OF CONSUMER AFFAIRS, 41(1):74-99; Aaron S. Kesselheim, John Connolly, James
                            Rogers, and Jerry Avorn (2015), Mandatory Disclaimers On Dietary Supplements
                      27    Do Not Reliably Communicate The Intended Issue, HEALTH AFFAIRS, 34(3):438-
                      28    446 at 445.
                                                                      15
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                       1    violation of the UCL’s unlawful prong. Plaintiff’s UCL unlawful prong claim does
                       2    not rest on the same conduct as her other causes of action, and there is no adequate
                       3    remedy at law for this specific claim. Plaintiff and class members may also be
                       4    entitled to restitution under the UCL, while not entitled to damages under other
                       5    causes of action asserted herein (e.g., the CLRA is limited to certain types of
                       6    plaintiffs (an individual who seeks or acquires, by purchase or lease, any goods or
                       7    services for personal, family, or household purposes) and other statutorily
                       8    enumerated conduct).
                       9          41.    A primary litigation objective in this litigation is to obtain injunctive
                      10    relief. Injunctive relief is appropriate on behalf of Plaintiff and members of the
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                      11    class because Defendant continues to misrepresent the Product. Injunctive relief is
                      12    necessary to prevent Defendant from continuing to engage in the unfair,
                      13    fraudulent, and/or unlawful conduct described herein and to prevent future harm—
                      14    none of which can be achieved through available legal remedies (such as monetary
                      15    damages to compensate past harm). Injunctive relief, in the form of affirmative
                      16    disclosures or halting the sale of unlawful sold products is necessary to dispel the
                      17    public misperception about the Product that has resulted from years of Defendant’s
                      18    unfair, fraudulent, and unlawful marketing efforts. Such disclosures would
                      19    include, but are not limited to, publicly disseminated statements stating that the
                      20    Product was sold illegally and that the ingredients in the Product are incapable of
                      21    providing the advertised symptom relief. An injunction requiring affirmative
                      22    disclosures to dispel the public’s misperception, and prevent the ongoing
                      23    deception and repeat purchases, is also not available through a legal remedy (such
                      24    as monetary damages). In addition, Plaintiff is currently unable to accurately
                      25    quantify the damages caused by Defendant’s future harm, because discovery and
                      26    Plaintiff’s investigation has not yet completed, rendering injunctive relief
                      27    necessary. Further, because a public injunction is available under the UCL, and
                      28
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                       1    damages will not adequately benefit the general public in a manner equivalent to
                       2    an injunction.
                       3          42.    It is premature to determine whether an adequate remedy at law
                       4    exists. This is an initial pleading and discovery has not yet commenced and/or is
                       5    at its initial stages. No class has been certified yet. No expert discovery has
                       6    commenced and/or completed. The completion of fact/non-expert and expert
                       7    discovery, as well as the certification of this case as a class action, are necessary
                       8    to finalize and determine the adequacy and availability of all remedies, including
                       9    legal and equitable, for Plaintiff’s individual claims and any certified class or
                      10    subclass. Plaintiff therefore reserves her right to amend this complaint and/or
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                      11    assert additional facts that demonstrate this Court’s jurisdiction to order equitable
                      12    remedies where no adequate legal remedies are available for either Plaintiff and/or
                      13    any certified class or subclass. Such proof, to the extent necessary, will be
                      14    presented prior to the trial of any equitable claims for relief and/or the entry of an
                      15    order granting equitable relief.
                      16                              CLASS ACTION ALLEGATIONS
                      17          43.    Plaintiff brings this action as a class action pursuant to Federal Rules
                      18    of Civil Procedure 23(b)(2) and 23(b)(3) on behalf of the following Class:
                      19          All persons who purchased the Product for personal use in California
                      20          within the applicable statute of limitations until the date class notice is
                                  disseminated.
                      21
                      22          44.    Excluded from the class are: (i) Defendant and its officers, directors,
                      23    and employees; (ii) any person who files a valid and timely request for exclusion;
                      24    (iii) judicial officers and their immediate family members and associated court
                      25    staff assigned to the case; (iv) individuals who received a full refund of the Product
                      26    from Defendant.
                      27          45.    Plaintiff reserves the right to amend or otherwise alter the class
                      28    definition presented to the Court at the appropriate time, or to propose or eliminate
                                                                      17
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                       1    subclasses, in response to facts learned through discovery, legal arguments
                       2    advanced by Defendant, or otherwise.
                       3          46.    The Class is appropriate for certification because Plaintiff can prove
                       4    the elements of the claims on a classwide basis using the same evidence as would
                       5    be used to prove those elements in individual actions alleging the same claims.
                       6          47.    Numerosity: Class Members are so numerous that joinder of all
                       7    members is impracticable. Plaintiff believes that there are thousands of consumers
                       8    who are Class Members described above who have been damaged by Defendant’s
                       9    deceptive and misleading practices.
                      10          48.    Commonality: There is a well-defined community of interest in the
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                      11    common questions of law and fact affecting all Class Members. The questions of
                      12    law and fact common to the Class Members which predominate over any questions
                      13    which may affect individual Class Members include, but are not limited to:
                      14          a.     Whether Defendant is responsible for the conduct alleged herein
                      15    which was uniformly directed at all consumers who purchased the Product;
                      16          b.     Whether Defendant’s misconduct set forth in this Complaint
                      17    demonstrates that Defendant engaged in unfair, fraudulent, or unlawful business
                      18    practices with respect to the advertising, marketing, and sale of the Product;
                      19          c.     Whether Defendant made misrepresentations concerning the Product
                      20    that were likely to deceive the public;
                      21          d.     Whether Plaintiff and the Class are entitled to injunctive relief;
                      22          e.     Whether Plaintiff and the Class are entitled to money damages and/or
                      23    restitution under the same causes of action as the other Class Members.
                      24          49.    Typicality: Plaintiff is a member of the Class that Plaintiff seeks to
                      25    represent. Plaintiff’s claims are typical of the claims of each Class Member in that
                      26    every member of the Class was susceptible to the same deceptive, misleading
                      27    conduct and purchased the Product. Plaintiff is entitled to relief under the same
                      28    causes of action as the other Class Members.
                                                                      18
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                       1          50.    Adequacy: Plaintiff is an adequate Class representative because
                       2    Plaintiff’s interests do not conflict with the interests of the Class Members Plaintiff
                       3    seeks to represent; the consumer fraud claims are common to all other members of
                       4    the Class, and Plaintiff has a strong interest in vindicating the rights of the class;
                       5    Plaintiff has retained counsel competent and experienced in complex class action
                       6    litigation and Plaintiff intends to vigorously prosecute this action. Plaintiff has no
                       7    interests which conflict with those of the Class. The Class Members’ interests will
                       8    be fairly and adequately protected by Plaintiff and proposed Class Counsel.
                       9    Defendant has acted in a manner generally applicable to the Class, making relief
                      10    appropriate with respect to Plaintiff and the Class Members. The prosecution of
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                      11    separate actions by individual Class Members would create a risk of inconsistent
                      12    and varying adjudications.
                      13          51.    The Class is properly brought and should be maintained as a class
                      14    action because a class action is superior to traditional litigation of this controversy.
                      15    A class action is superior to the other available methods for the fair and efficient
                      16    adjudication of this controversy because:
                      17          a.     The joinder of hundreds of individual Class Members is
                      18    impracticable, cumbersome, unduly burdensome, and a waste of judicial and/or
                      19    litigation resources;
                      20          b.     The individual claims of the Class Members may be relatively modest
                      21    compared with the expense of litigating the claim, thereby making it impracticable,
                      22    unduly burdensome, and expensive to justify individual actions;
                      23          c.     When Defendant’s liability has been adjudicated, all Class Members’
                      24    claims can be determined by the Court and administered efficiently in a manner
                      25    far less burdensome and expensive than if it were attempted through filing,
                      26    discovery, and trial of all individual cases;
                      27          d.     This class action will promote orderly, efficient, expeditious, and
                      28    appropriate adjudication and administration of Class claims;
                                                                       19
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                       1          e.        Plaintiff knows of no difficulty to be encountered in the management
                       2    of this action that would preclude its maintenance as a class action;
                       3          f.        This class action will assure uniformity of decisions among Class
                       4    Members;
                       5          g.        The Class is readily definable and prosecution of this action as a class
                       6    action will eliminate the possibility of repetitious litigation; and
                       7          h.        Class Members’ interests in individually controlling the prosecution
                       8    of separate actions is outweighed by their interest in efficient resolution by single
                       9    class action;
                      10          52.       Additionally or in the alternative, the Class also may be certified
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                      11    because Defendant has acted or refused to act on grounds generally applicable to
                      12    the Class thereby making final declaratory and/or injunctive relief with respect to
                      13    the members of the Class as a whole, appropriate.
                      14          53.       Plaintiff seeks preliminary and permanent injunctive and equitable
                      15    relief on behalf of the Class, on grounds generally applicable to the Class, to enjoin
                      16    and prevent Defendant from engaging in the acts described, and to require
                      17    Defendant to provide full restitution to Plaintiff and the Class members.
                      18          54.       Unless the Class is certified, Defendant will retain monies that were
                      19    taken from Plaintiff and Class members as a result of Defendant’s wrongful
                      20    conduct. Unless a classwide injunction is issued, Defendant will continue to
                      21    commit the violations alleged and the members of the Class and the general public
                      22    will continue to be misled.
                      23                                   FIRST CLAIM FOR RELIEF
                      24                Violation of California’s Consumers Legal Remedies Act
                      25                                 Cal. Civ. Code § 1750 et seq.
                      26          55.       Plaintiff realleges and incorporates by reference all allegations
                      27    contained in this complaint, as though fully set forth herein.
                      28
                                                                        20
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                       1          56.      Plaintiff brings this claim under the CLRA individually and on behalf
                       2    of the Class against Defendant.
                       3          57.      At all times relevant hereto, Plaintiff and the members of the Class
                       4    were “consumer[s],” as defined in California Civil Code section 1761(d).
                       5          58.      At all relevant times, Defendant was a “person,” as defined in
                       6    California Civil Code section 1761(c).
                       7          59.      At all relevant times, the Product manufactured, marketed,
                       8    advertised, and sold by Defendant constituted “goods,” as defined in California
                       9    Civil Code section 1761(a).
                      10          60.      The purchases of the Product by Plaintiff and the members of the
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                      11    Class were and are “transactions” within the meaning of California Civil Code
                      12    section 1761(e).
                      13          61.      Defendant disseminated, or caused to be disseminated, through its
                      14    advertising, false and misleading representations, including the Product’s labeling
                      15    that the Product provides “Eye Irritation Relief” and relief for “Dry Eyes,”
                      16    “Allergies,” and “Eye Strain.” Defendant failed to disclose that the ingredients in
                      17    the Product are incapable of providing the advertised eye symptom relief and that
                      18    the Product was being sold illegally. This is a material misrepresentation and
                      19    omission as reasonable consumer would find the fact that the Product is ineffective
                      20    and illegal to be important to their decision in purchasing the Product. Defendant’s
                      21    representations violate the CLRA in the following ways:
                      22          a)       Defendant represented that the Product has characteristics,
                      23    ingredients, uses, and benefits which it does not have (Cal. Civ. Code §
                      24    1770(a)(5));
                      25          b)       Defendant represented that the Product is of a particular standard,
                      26    quality, or grade, which it is not (Cal. Civ. Code § 1770(a)(7));
                      27          c)       Defendant advertised the Product with an intent not to sell the Product
                      28    as advertised (Cal. Civ. Code § 1770(a)(9)); and
                                                                       21
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                       1          d)     Defendant represented that the subject of a transaction has been
                       2    supplied in accordance with a previous representation when it has not (Cal. Civ.
                       3    Code § 1770(a)(16)).
                       4          62.    Defendant violated the CLRA because the Product was prominently
                       5    advertised as being able to provide “Eye Irritation Relief” and relief for “Dry
                       6    Eyes,” “Allergies,” and “Eye Strain” but, in reality, the ingredients in the Product
                       7    are incapable of providing the advertised eye symptom relief and the product was
                       8    being sold illegally. Defendant knew or should have known that consumers would
                       9    want to know that the Product was ineffective and illegal to sell.
                      10          63.    Defendant’s actions as described herein were done with conscious
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                      11    disregard of Plaintiff’s and the Class members’ rights and were wanton and
                      12    malicious.
                      13          64.    Defendant’s wrongful business practices constituted, and constitute,
                      14    a continuing course of conduct in violation of the CLRA, since Defendant is still
                      15    representing that the Product has characteristics which it does not have.
                      16          65.    Pursuant to California Civil Code section 1782(d), Plaintiff and the
                      17    members of the Class seek an order enjoining Defendant from engaging in the
                      18    methods, acts, and practices alleged herein.
                      19          66.    Pursuant to California Civil Code section 1782, Plaintiff will notify
                      20    Defendant in writing by certified mail of the alleged violations of the CLRA and
                      21    will demand that Defendant rectify the problems associated with the actions
                      22    detailed above and give notice to all affected consumers of their intent to so act. If
                      23    Defendant fails to rectify or agree to rectify the problems associated with the
                      24    actions detailed herein and give notice to all affected consumers within 30 days of
                      25    the date of written notice pursuant to section 1782 of the CLRA, then Plaintiff will
                      26    amend her complaint to seek damages.
                      27          67.    Pursuant to section 1780(d) of the CLRA, attached hereto is an
                      28    affidavit showing that this action was commenced in a proper forum.
                                                                      22
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                       1                               SECOND CLAIM FOR RELIEF
                       2                   Violation of California’s Unfair Competition Law
                       3                         Cal. Bus. & Prof. Code § 17200 et seq.
                       4          68.    Plaintiff realleges and incorporates by reference all allegations
                       5    contained in this complaint, as though fully set forth herein.
                       6          69.    Plaintiff brings this claim under the UCL individually and on behalf
                       7    of the Class against Defendant.
                       8          70.    The UCL prohibits any “unlawful,” “fraudulent,” or “unfair” business
                       9    act or practice and any false or misleading advertising.
                      10          71.    Defendant committed unlawful business acts or practices by making
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                      11    the representations and omitted material facts (which constitutes advertising
                      12    within the meaning of California Business & Professions Code section 17200), as
                      13    set forth more fully herein, and by violating California’s Consumers Legal
                      14    Remedies Act, Cal. Civ. Code §§1750, et seq., California’s False Advertising Law,
                      15    Cal. Bus. & Prof. § 17500, et seq., the Food, Drug, and Cosmetics Act, 21 U.S.C.
                      16    § 301, California’s Sherman Law, Cal. Health & Safety Code § 109875 et seq. and
                      17    by breaching express warranties. Plaintiff, individually and on behalf of the other
                      18    Class members, reserves the right to allege other violations of law, which
                      19    constitute other unlawful business acts or practices. Such conduct is ongoing and
                      20    continues to this date.
                      21          72.    Defendant committed “unfair” business acts or practices by: (1)
                      22    engaging in conduct where the utility of such conduct is outweighed by the harm
                      23    to Plaintiff and the members of the a Class; (2) engaging in conduct that is
                      24    immoral, unethical, oppressive, unscrupulous, or substantially injurious to
                      25    Plaintiff and the members of the Class; and (3) engaging in conduct that
                      26    undermines or violates the intent of the consumer protection laws alleged herein.
                      27    There is no societal benefit from deceptive advertising. Plaintiff and the other
                      28    Class members paid for a Product that is not as advertised by Defendant. Further,
                                                                     23
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                       1    Defendant failed to disclose a material fact (that the Product is ineffective and
                       2    illegal to sell) of which it had exclusive knowledge. While Plaintiff and the other
                       3    Class members were harmed, Defendant was unjustly enriched by its false
                       4    misrepresentations and material omissions. As a result, Defendant’s conduct is
                       5    “unfair,” as it offended an established public policy. There were reasonably
                       6    available alternatives to further Defendant’s legitimate business interests, other
                       7    than the conduct described herein.
                       8             73.     Defendant committed “fraudulent” business acts or practices by
                       9    making the representations of material fact regarding the Product set forth herein.
                      10    Defendant’s business practices as alleged are “fraudulent” under the UCL because
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                      11    they are likely to deceive customers into believing the Product is effective and
                      12    legal to sell.
                      13             74.     Plaintiff and the other members of the Class have in fact been
                      14    deceived as a result of their reliance on Defendant’s material representations and
                      15    omissions. This reliance has caused harm to Plaintiff and the other members of the
                      16    Class, each of whom purchased Defendant’s Product. Plaintiff and the other Class
                      17    members have suffered injury in fact and lost money as a result of purchasing the
                      18    Product and Defendant’s unlawful, unfair, and fraudulent practices.
                      19             75.     Defendant’s wrongful business practices and violations of the UCL
                      20    are ongoing.
                      21             76.     Plaintiff and the Class seek pre-judgment interest as a direct and
                      22    proximate result of Defendant’s unfair and fraudulent business conduct. The
                      23    amount on which interest is to be calculated is a sum certain and capable of
                      24    calculation, and Plaintiff and the Class seek interest in an amount according to
                      25    proof.

                      26             77.     Unless restrained and enjoined, Defendant will continue to engage in
                            the above-described conduct. Accordingly, injunctive relief is appropriate.
                      27
                            Pursuant to California Business & Professions Code section 17203, Plaintiff,
                      28
                                                                        24
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                       1    individually and on behalf of the Class, seeks (1) restitution from Defendant of all
                       2    money obtained from Plaintiff and the other Class members as a result of unfair
                       3    competition; (2) an injunction prohibiting Defendant from continuing such
                       4    practices in the State of California that do not comply with California law; and (3)
                       5    all other relief this Court deems appropriate, consistent with California Business

                       6    & Professions Code section 17203.
                                                        THIRD CLAIM FOR RELIEF
                       7
                                                      Breach of Express Warranty
                       8
                                  78.    Plaintiff realleges and incorporates by reference all allegations
                       9
                            contained in this complaint, as though fully set forth herein.
                      10
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                                  79.    Plaintiff brings this claim for breach of express warranty individually
                      11
                            and on behalf of the Class against Defendant.
                      12
                                  80.    As the manufacturer, marketer, distributor, and seller of the Product,
                      13
                            Defendant issued an express warranty by representing to consumers at the point of
                      14    purchase that the Product provides “Eye Irritation Relief” and relief for “Dry
                      15    Eyes,” “Allergies,” and “Eye Strain.”
                      16          81.    Plaintiff and the Class reasonably relied on Defendant’s
                      17    misrepresentations, descriptions and specifications regarding the Product,
                      18    including the representation that the Product provides “Eye Irritation Relief” and
                      19    relief for “Dry Eyes,” “Allergies,” and “Eye Strain.”
                      20          82.    Defendant’s representations were part of the description of the goods
                      21    and the bargain upon which the goods were offered for sale and purchased by
                      22    Plaintiff and Members of the Class.
                      23          83.    In fact, the Product does not conform to Defendant’s representations

                      24    because the Product is incapable of providing the advertised eye symptom relief
                            and was illegal to sell. By falsely representing the Product in this way, Defendant
                      25
                            breached express warranties.
                      26
                      27
                      28
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                       1          84.    Plaintiff relied on Defendant’s (the manufacturer) representations on
                       2    the Product’s labels and advertising materials which provide the basis for an
                       3    express warranty under California law.
                       4          85.    As a direct and proximate result of Defendant’s breach, Plaintiff and
                       5    Members of the Class were injured because they: (1) paid money for the Product

                       6    that was not what Defendant represented; (2) were deprived of the benefit of the
                            bargain because the        Product they purchased was different than Defendant
                       7
                            advertised; and (3) were deprived of the benefit of the bargain because the Product
                       8
                            they purchased had less value than if Defendant’s representations about the
                       9
                            characteristics of the Product were truthful. Had Defendant not breached the
                      10
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                            express warranty by making the false representations alleged herein, Plaintiff and
                      11
                            Class Members would not have purchased the Product or would not have paid as
                      12
                            much as they did for it.
                      13
                                                               REQUEST FOR RELIEF
                      14          Plaintiff, individually, and on behalf of all others similarly situated, request
                      15    for relief pursuant to each claim set forth in this complaint, as follows:
                      16          a.     Declaring that this action is a proper class action, certifying the Class
                      17    as requested herein, designating Plaintiff as the Class Representative and
                      18    appointing the undersigned counsel as Class Counsel;
                      19          b.     Ordering restitution and disgorgement of all profits and unjust
                      20    enrichment that Defendant obtained from Plaintiff and the Class members as a
                      21    result of Defendant’s unlawful, unfair, and fraudulent business practices;
                      22          c.     Ordering injunctive relief as permitted by law or equity, including
                      23    enjoining Defendant from continuing the unlawful practices as set forth herein,
                      24    and ordering Defendant to engage in a corrective advertising campaign;
                      25          d.     Ordering damages in amount which is different than that calculated
                      26    for restitution for Plaintiff and the Class;
                      27          e.     Ordering Defendant to pay attorneys’ fees and litigation costs to
                      28    Plaintiff and the other members of the Class;
                                                                       26
                                                          CLASS ACTION COMPLAINT
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                       1           f.    Ordering Defendant to pay both pre- and post-judgment interest on
                       2    any amounts awarded; and
                       3           g.    Ordering such other and further relief as may be just and proper.
                       4                                     JURY DEMAND
                       5           Plaintiff hereby demands a trial by jury of all claims in this Complaint so
                       6    triable.
                       7
                       8     Dated: November 20, 2023              CROSNER LEGAL, P.C.
                       9
                                                                   By:      /s/ Michael T. Houchin
                      10
CROSNER LEGAL, P.C.




                                                                           MICHAEL T. HOUCHIN
                      11                                           9440 Santa Monica Blvd. Suite 301
                                                                   Beverly Hills, CA 90210
                      12                                           Tel: (866) 276-7637
                                                                   Fax: (310) 510-6429
                      13                                           mhouchin@crosnerlegal.com
                      14                                           Attorneys for Plaintiff and the Proposed
                                                                   Class
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                                                        CLASS ACTION COMPLAINT
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                       1                    Affidavit Pursuant to Civil Code Section 1780(d)
                       2          I, MICHAEL T. HOUCHIN, declare as follows:
                       3          1.      I am an attorney duly licensed to practice before all of the courts of
                       4    the State of California. I am one of the counsel of record for Plaintiff.
                       5          2.      This declaration is made pursuant to § 1780(d) of the California
                       6    Consumers Legal Remedies Act.
                       7          3.      Defendant Boiron, Inc. has done, and is doing, business in California,
                       8    including in this county. Such business includes the marketing, promotion,
                       9    distribution, and sale of the Product within the State of California.
                      10          4.      Plaintiff alleges that she purchased the Product in San Bernardino
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                      11    County, California within this judicial district.
                      12
                      13          I declare under penalty of perjury under the laws of the State of California
                      14    that the foregoing is true and correct. Executed November 20, 2023 at San Diego,
                      15    California.
                      16
                      17                                            CROSNER LEGAL, P.C.
                      18
                                                                    By:      /s/ Michael T. Houchin
                      19                                                    MICHAEL T. HOUCHIN
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                                                         CLASS ACTION COMPLAINT
